4:08-cr-03028-RGK-DLP        Doc # 94    Filed: 04/02/09    Page 1 of 2 - Page ID # 250


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:08CR3028-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
JUAN R. ANAYA,                              )
                                            )
                    Defendant.              )

      On the oral motion of the government,

       IT IS ORDERED that Defendant Anaya’s sentencing is continued to Thursday, May
14, 2009, at 12:30 p.m., before the undersigned United States district judge, in Courtroom
No. 1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      April 2, 2009.                     BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
4:08-cr-03028-RGK-DLP        Doc # 94    Filed: 04/02/09    Page 2 of 2 - Page ID # 251


                    IN THE UNITED STATES DISTRICT COURT
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                    Plaintiff,              )
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